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UNITED STATES DISTRIC'I` COURT
FOR THE DISTRICT OF COLUMBIA

 

)
UNITED STATES OF AMERICA, )
)
V- )
, )
l\/IARIIA BUTINA, a/k/a, ) Criminal Action No. 18-cr-218 (TSC)
l\/IARIA BUTINA ) ' 4
)
Defendant. ) F l L E o
)

 

APR 26 2019

.C|erk, U.S'. District and

ORDER OF JUDICIAL REMOVAL Bankmptcy Courts

Upon the application of the United States of America, by Erik M. Kenerson and Thomas
N. Saunders, Assistant United States Attorneys, District of Columbia; upon the Factual Allegations
in Support of Judicial Removal; upon the consent of Mariia Butina (“the de'fendant”) and upon all
prior proceedings and submissions in this matter, With full consideration having been given to the
matters set forth herein, the Court finds:

l. The defendant is not a citizen or national of the United States.

2._The defendant is a native of the Union of Soviet Socialist chublics (Russian S.F.S.R.),
and citizen of the Russian Federation.

3. The defendant entered the United States on an F-l student visa in August 2016.

4.. At the time of sentencing in this case, the defendant will be convicted in the United
States District Court for the District of Columbia, of the following counts charged in the
indictments Count One: Conspiracy to Act as an Agent of a Foreign Government in violation of
18 U.S.C'. §§ 371, 951. The maximum sentence for this offense is five years of imprisonment
and/or a $250,000 fine. 4

5. The defendant is, and upon the completion of her sentence, subject to removal from the

United States pursuant to Section 237(a)(4)(A)(ii) of the Immigration and Nationality Act of 1952

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(“INA”), as amended, 8 U.S.C. § 1227(a)(4)(A)(ii), as an alien who has engaged, is engaged, or at
any time after admission engages in “any other criminal activity which endangers public safety or
national security.” Id.

6.'The defendant has waived her right to notice and a hearing under Section 238(c) of the
INA, 8 U.S.C. § 1228(0).

7. The defendant has waived the opportunity to pursue any and all forms of relief and
protection from removal.

WHEREFORE, IT IS HEREBY ORDERED, pursuant to Section 238(c) of the INA, 8
U.S.C. § _1228(c), that the defendant is ordered removed from the United States to the Russian

Federation promptly upon the completion of her sentence.

Date: April 26, 2019

 

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TANYA S. CHUTKAN
United States District Judge

